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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )    Case No. 8:06CR205
                    Plaintiff,                  )
                                                )
      vs.                                       )         ORDER
                                                )
NANCY LUNA,                                     )
                                                )
                    Defendant.                  )


        The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the Financial
Affidavit, I find that the above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the
District of Nebraska.

      IT IS ORDERED:

      Mr. Michael D. Gooch is appointed to represent the above named defendant in this matter
and shall forthwith file a written appearance in this matter.

      IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18
U.S.C. §3006A(f). At the time of the entry of judgment herein, defendant shall file a current and
complete financial statement to aid the court in determining whether any portion of counsel's fees
and expenses should be reimbursed by defendant.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal
Public Defender and Mr. Michael D. Gooch.

      DATED this 25th day of August, 2006.

                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
